Case 1:18-cr-00538-MKB Document 68 Filed 03/17/21 Page 1 of 5 PageID #: 1122


                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
AES/DGR/DAS                                          271 Cadman Plaza East
F. #2016R00467                                       Brooklyn, New York 11201



                                                     March 17, 2021

By ECF

The Honorable Margo K. Brodie
United States District Court
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:    United States v. Ng Chong Hwa
                      Criminal Docket No. 18-538 (MKB)

Dear Chief Judge Brodie:

               The government writes in response to defendant’s March 12, 2021 letter regarding
Mohd Najib Bin Abd Razak v. Timothy Leissner and Goldman Sachs, Docket No. 20 Misc. 387
(JGK) (KHP) (S.D.N.Y.) (“Razak”). 1 See ECF No. 64 (the “March 12 Letter”). 2 The March 12
Letter not only mischaracterizes the government’s filings in Razak, but also violates the
protective order agreed to by the parties and so ordered by the Court. See ECF No. 26 (the
“Protective Order”). The government therefore respectfully requests that the Court deny
defendant’s requested relief.

             First, the March 12 Letter violates both the letter and the spirit of the Protective
Order. Defense counsel acknowledges that they are “not at liberty to describe the nature of the

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         Razak is a civil action in which Mohd Najib Bin Abd Razak (“Razak”), a Malaysian
citizen and resident who previously served as the Prime Minister of Malaysia from April 2009 to
May 2018, and who is currently facing criminal charges in Malaysia for his role in the 1MDB
bribery scheme, has filed a motion pursuant to 28 U.S.C. § 1782 for documents and testimony
from Goldman Sachs and Tim Leissner.
       2
         Attached as Exhibit A are the publicly filed versions of the government’s motion to stay
and intervene, and its motion to seal, in Razak, along with all responses and replies. The
government will seek authorization from Magistrate Judge Katharine Parker to provide the Court
with the unredacted versions of these documents in connection with this letter and the
government’s response to the motion for joinder filed by petitioner’s counsel in Razak in this
case, which is due on March 22, 2021.
Case 1:18-cr-00538-MKB Document 68 Filed 03/17/21 Page 2 of 5 PageID #: 1123




evidence” in their possession, but then proceeds to do exactly that, claiming that it includes
“material that defendant Razak does not appear to have that would be consistent with his stated
defense” and describes that material as “evidence that certain members of 1MDB made their own
corrupt arrangements with Jho Low or Leissner or others associated with them to show that
while there may have been a bribery relationship involving certain people at 1MDB, these were
arrangements reached individually by each 1MDB member without the participation of the
former Prime Minister.” ECF No. 64 at 2 & n.1. Defendant further asserts, without any basis,
that the evidence in this case includes material that, in his view, is “clearly exculpatory” for
Razak. Id. at 3.

                Even if this assertion were true—which it is not—such statements, filed on the
public docket, violate the Protective Order that was carefully negotiated between the parties and
so ordered by the Court. Paragraph 2 of the Protective Order makes clear that the Discovery
Materials 3 “may be used . . . only for the purposes of defending against the charges in [United
States v. Ng],” and Paragraph 3 of the Protective Order makes clear that Defense Counsel may
not “disclose[], disseminate[] or discuss[]” the Discovery Materials or any derivative materials
with “any individuals, organizations, or other entities.” ECF No. 26 ¶¶ 2-3. Thus, not only
would providing any materials to Razak’s counsel violate the Protective Order, but the very
assertions made in the March 12 Letter itself, which disclose and discuss the substance of the
Discovery Materials, are also contrary to its terms.

                Moreover, the Protective Order outlines a specific procedure by which Defense
Counsel may seek to disclose, discuss or disseminate any of the Discovery Materials or other
information derived therefrom: first, they must “seek the government’s agreement to do so,” and
only then, “[i]n the absence of such agreement, Defense Counsel must (a) provide advance notice
to the government or Firewall Counsel[] and (b) make an application to the Court for
authorization to make such disclosure,” and such notice “must be given sufficiently in advance
of the contemplated application as to permit briefing and argument as to the propriety of such
disclosure.” Id. ¶ 7. The defendant here skipped straight to the third step, never seeking the
government’s approval or providing advanced notice of his application to the Court. To
immediately seek relief from the Court without following the proper procedures—and to do so in
a manner that speaks (inaccurately) about the substance of the Discovery Materials in a public
filing—violates the Protective Order. Such conduct should not be countenanced by this Court,
and counsel should be reminded of their obligations under the Protective Order.

                 Additionally, as the Court is aware, the defendant has separately asked the Court
to remove the “Attorney’s Eyes Only” designation applied to the government’s early productions
of Jencks Act material. ECF No. 43 at 116. For support, the defendant has argued that he “has
abided by all provisions of the Protective Order in the year and a half that he has been awaiting
trial in the United States.” Id. As discussed above, that assertion is now inaccurate. Counsel’s
willingness to flout the clear provisions of the Protective Order and to share materials with



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         All capitalized terms not otherwise defined herein are defined in reference to the
Protective Order.



                                                2
Case 1:18-cr-00538-MKB Document 68 Filed 03/17/21 Page 3 of 5 PageID #: 1124




unauthorized third parties abroad weighs heavily in favor of denying the defendant’s motion to
re-designate the early Jencks Act material produced to date.

               The substantive arguments in the March 12 Letter are also without merit. The
defendant’s primary argument is that the government’s intervention in Razak “is clear evidence
that Goldman Sachs is a member of the prosecution team.” ECF No. 64 at 1. This argument
borders on the absurd. As the government has already made clear in other briefing, the mere fact
that Goldman Sachs is cooperating with the government’s investigation pursuant to a Deferred
Prosecution Agreement (“DPA”) does not transform Goldman Sachs into a member of the
prosecution team. See ECF No. 54 at 80-87; see also United States v. Garcia, 509 F. App’x 40,
43 (2d Cir. 2013); United States v. Meregildo, 920 F. Supp. 2d 434, 441-45 (S.D.N.Y. 2013).

               Indeed, Goldman Sachs is a corporation with its own interests and lawyers, and
nowhere was that clearer than in the Razak matter itself. The government sought to intervene
and stay the Razak matter to vindicate its own interests in protecting, inter alia, the integrity of
this ongoing criminal case. See Razak Dkt. Nos. 18, 19. Goldman Sachs did not join the
government’s motion, but rather took no position. See Razak Dkt. No. 22; see also Razak Dkt.
No. 32 at 10 (according to Razak’s counsel, “Goldman Sachs filed a consented-to motion for
time, in which it took no position on the Government’s motion for intervention and a stay, but
rather asked for an additional extension of time to file its response to the subpoena until five days
after the Court’s resolution of the Government’s application”). If the government were acting
“as Goldman Sachs’s free lawyer,” as defendant alleges, then surely Goldman Sachs and the
government would have taken the same position regarding the subpoenas. ECF No. 64 at 2.

                 The defendant’s allegation that certain filing dates in the Razak matter “show[] a
close working and strategic relationship” between the government and Goldman Sachs does not
withstand scrutiny. Id. On January 22, 2021, Goldman Sachs sought a four-week extension of
its time to respond to the subpoenas, giving them until February 9, 2021. Razak Dkt. No. 13.
The government understood that it likely had until that date to decide—independently—whether
it wanted move to intervene and stay the proceedings. In that time, the government assessed its
interest in that litigation and ultimately filed its motion. The defendant’s attempt to use this
timing as a hook to reargue its joint prosecution team motion should be rejected, and its request
for discovery on this topic should be denied.

                Moreover, the Court should reject the defendant’s more generalized assertion that
the government is “protecting” Goldman Sachs and maintaining an “extraordinary relationship”
with the corporation. ECF No. 64 at 3. As this Court is well aware, the government conducted
an independent criminal investigation of Goldman Sachs that lasted multiple years and, among
other things, culminated in a DPA that provided Goldman Sachs with less than half of the
cooperation credit for which it was eligible. See ECF No. 54 at 83-84; id. Ex. A at 4. Such facts
clearly demonstrate the falsity of the defendant’s claims that the government is somehow
protecting Goldman Sachs.

               The defendant’s remaining allegations are also baseless. The government has not
intervened in the Razak matter “solely to ensure that a defendant in a foreign prosecution . . . is
denied that which a Judge in the Southern District has already ruled he should receive.” ECF
No. 64 at 2. As an initial matter, such a statement is misleading: as defense counsel is aware,


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Case 1:18-cr-00538-MKB Document 68 Filed 03/17/21 Page 4 of 5 PageID #: 1125
Case 1:18-cr-00538-MKB Document 68 Filed 03/17/21 Page 5 of 5 PageID #: 1126
